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  1         G R IFF ITH & T HO R NB UR G H , L LP
                     ATTORNEYS AND COUNSELORS

  2                8 EAST FIGUEROA STREET, SUITE 300
                       SANTA BARBARA, CA 93101

  3                    TELEPHONE: 805-965-5131
                       TELECOPIER: 805-965-6751

  4
      Felicita A. Torres, Bar No. 298630 Email: torres@g-tlaw.com
  5   Lauren A. Rode, Bar No. 281803 Email: rode@g-tlaw.com
  6
      Attorneys for Liquidating Trustee Appointed under
  7
      Confirmed Chapter 11 Liquidating Plan
  8

  9
                                UNITED STATES BANKRUPTCY COURT
 10

 11                              CENTRAL DISTRICT OF CALIFORNIA

 12                                              NORTHERN DIVISION
 13

 14       In re                                            )   Case No. 9:16-bk-11912-DS
                                                           )
 15       CHANNEL TECHNOLOGIES                             )   Chapter 11
          GROUP, LLC,                                      )
 16                                                        )   LIQUIDATING TRUSTEE’S
                                    DEBTOR.                )   FOURTEENTH POST-
 17                                                        )   CONFIRMATION STATUS REPORT
                                                           )
 18                                                        )   [No Hearing Set]
                                                           )
 19

 20               TO THE HONORABLE DEBORAH J. SALTZMAN, UNITED
 21   STATES BANKRUPTCY JUDGE, THE OFFICE OF THE UNITED
 22   STATES TRUSTEE, AND ALL OTHER PARTIES-IN-INTEREST:
 23               Corporate        Recovery            Associates,   LLC,   the   Liquidating    Trustee
 24   (“Liquidating Trustee”) appointed under the confirmed Chapter 11 Liquidating
 25   Plan (“Plan”)1 [Docket No. 426] of Debtor Channel Technologies Group, LLC
 26

 27
      1  Unless otherwise defined herein, the definitions of the capitalized terms contained herein are
 28
      as set forth in the Plan.
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  1   (“Debtor”), hereby submits the following Post-Confirmation Status Report
  2   (“Status Report”), as required by the Order Confirming Chapter 11 Liquidating
  3   Plan [Docket No. 473] (“Confirmation Order”), entered by the Court on March 2,
  4   2018.
  5           A.    Occurrence of the Effective Date.
  6           The Effective Date of the Plan occurred on April 2, 2018. On April 2,
  7   2018, the Liquidating Trustee provided notice of the occurrence of the Effective
  8   Date pursuant to the filing and service of the Notice of: (1) Occurrence of
  9   Effective Date of Chapter 11 Liquidating Plan, and (2) Deadlines for Filing
 10   Certain Claims and Requests for Payment [Docket No. 547].
 11           B.    Status of the Debtor’s Efforts to Consummate the Plan.
 12           The Plan provides, among other things, for the establishment of a
 13   liquidating trust (“Liquidating Trust”) and the appointment of the Liquidating
 14   Trustee to act as the trustee of the Liquidating Trust. The Liquidating Trust was
 15   organized and established to liquidate the assets of the Debtor’s estate for the
 16   benefit of the holders of all Allowed General Unsecured Claims against the
 17   Debtor. Pursuant to the terms of the Plan, the assets of the Debtor’s estate,
 18   including but not limited to potential causes of action held by the Debtor’s estate,
 19   were transferred to the Liquidating Trust on the Effective Date.
 20                 1.    The Liquidating Trustee’s Evaluation and Prosecution of
 21                       Litigation Claims.
 22           The Liquidating Trustee evaluated thoroughly whether avoidance or other
 23   litigation claims should be pursued by the Liquidating Trustee for the benefit of
 24   the Debtor’s creditors. Based upon such evaluation, the Liquidating Trustee took
 25   certain actions, including negotiating agreements with five entities for tolling the
 26   statutory deadline for pursuing avoidance claims under Section 546 of the
 27

 28
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  1   bankruptcy code, and prosecuting the Litigation Claims. 2 Having negotiated
  2   settlement of disputes with various parties, the Liquidating Trustee is not a party
  3   to any pending tolling agreements. Further, all Litigation Claims have been
  4   successfully resolved and liquidated as follows:
  5                          a.      Preference Action.           The parties to the Preference
  6   Action, (9:18-ap-01057-DS), entered into a confidential global settlement
  7   agreement pursuant to which both the Preference Action and the D& O Action
  8   were resolved, and the parties filed a stipulation to dismiss the Preference Action
  9   with prejudice.      On March 25, 2020, the Court entered an order approving the
 10   parties’ stipulation to dismiss the Preference Action, and the adversary
 11   proceeding has been closed.
 12                          b.      Grant Thornton Action.               The Liquidating Trustee
 13   entered into a confidential settlement of the Grant Thornton Action, and on July
 14   6, 2020, filed a stipulation dismissing the adversary proceeding with prejudice.
 15

 16

 17
      2  These Litigation Claims are comprised of i) a preference action filed October 12, 2018,
 18   against Lynn Chen, seeking, in part, to avoid and recover pursuant to Sections 547 and 550 of
      the Bankruptcy Code preferential transfers in approximate amount of $203,713 (“Preference
 19
      Action”); and the following Complex Litigation Claims: ii) an action filed by the Lynn Pinker
 20   law firm (“Lynn Pinker”) on the Liquidating Trustee’s behalf on October 12, 2018, against BW
      Piezo Holdings, LLC (an insider of the debtor), Blue Wolf Capital Partners, LLC and other
 21   entities, asserting, among others, causes of action for avoidance of fraudulent transfers under
      Sections 548 and 550 of the Bankruptcy Code (“Fraudulent Transfer Action”). The Fraudulent
 22   Transfer Action is based, in part, on Defendants’ diversion of approximately $70 million in
      gross sale proceeds from sale of a debtor-affiliated shell entity.; iii) an action filed in the Santa
 23
      Barbara Superior Court on October 15, 2018, against a number of former directors and officers
 24   of the Debtor, asserting, among others, causes of action for breach of fiduciary duty and
      negligence (“D & O Action”) related, in part, to the diversion of $70 million in gross sale
 25   proceeds referenced in the Fraudulent Transfer Action, and iv) an action filed in this Court on
      April 18, 2019 against Grant Thornton, seeking recovery , pursuant to 11 U.S.C. sections 548
 26   and 549, of post-petition payments made to Grant Thornton (“Grant Thornton Action”). The
      Preference Action, Fraudulent Transfer Action, D & O Action and Grant Thornton Action are
 27
      collectively referred to as the “Litigation Claims.”
 28
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  1                       c.     Complex Litigation.
  2           Throughout 2021, the Fraudulent Transfer Action continued to be actively
  3   litigated against remaining defendants, and the Liquidating Trustee continued to
  4   be mindful of conserving and efficiently managing estate cash assets to fund costs
  5   incurred in prosecuting the Action. The remaining parties to the litigation were,
  6   among other things, engaged in a lengthy discovery dispute which was ultimately
  7   resolved by a July 16, 2021 order of this Court.
  8           The Liquidating Trustee and the remaining defendants in the Fraudulent
  9   Transfer Action participated in a mediation on November 2, 2021, and several
 10   days afterwards the parties ultimately arrived at a confidential settlement of the
 11   Action.
 12           On January 7, 2022, the Liquidating Trustee and remaining defendants
 13   filed a stipulation to dismiss the Action against the remaining defendants with
 14   prejudice. An order approving the stipulation and dismissal was entered on
 15   January 10, 2022, and the Fraudulent Transfer Action was closed on January 25,
 16   2022.
 17           The Liquidating Trustee anticipates that, based on the successful resolution
 18   and liquidation of all of the Litigation Claims filed in this case there will be some
 19   distribution to the Debtor’s general unsecured creditors.
 20                 2.    The Liquidating Trustee’s Evaluation of the Claims
 21                       Asserted Against the Debtor’s Estate.
 22           Since the appointment of the Liquidating Trustee pursuant to the terms of
 23   the Plan, the Liquidating Trustee has devoted a significant amount of time and
 24   effort performing an initial evaluation of the claims asserted against the Debtor to
 25   determine the validity of such claims and whether grounds exist to object to any
 26   such claims. Approximately 430 unsecured claims have been asserted against the
 27   Debtor’s estate, asserting initially more than $37.0 million in unsecured claims
 28   against the Debtor. The Liquidating Trustee has identified more than 150 claims
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  1   which are subject to dispute in this case and has already filed objections to more
  2   than 100 claims, substantially all of which have been sustained by the Court.
  3   Additionally, and as set forth in prior reports, as of April 3, 2018, the Liquidating
  4   Trustee entered into a stipulation with Lockheed Martin Corporation-Rotary and
  5   Mission Systems (“Lockheed”) which had filed a general unsecured claim in the
  6   amount of $19,568,400.         Pursuant to the stipulation, Lockheed’s claim was
  7   reduced from $19,568,400 to $3,841,683 and treated as an allowed general
  8   unsecured claim under the terms of the Plan. As a result of the reduction of
  9   Lockheed’s claim, and the Court’s sustaining of numerous claims objections filed
 10   by the Liquidating Trustee, the Liquidating Trustee estimates that there remain
 11   approximately $17.4 million in outstanding unsecured claims against the Debtor’s
 12   estate.
 13             After performing its initial evaluation of pending claims, the Liquidating
 14   Trustee determined that further examination of potential disputed claims, and the
 15   basis for dispute, would require devotion of substantial time and resources. At
 16   that time, the Liquidating Trustee determined, in the exercise of its business
 17   judgment, that it would be prudent to avoid further expenditure of time and
 18   resources on detailed investigation of pending claims in order to devote attention
 19   and resources to the investigation and prosecution of the Litigation Claims.
 20                   3.    Claims Reconciliation, Analysis and Objections.
 21             Now that all of the Litigation Claims have been successfully litigated and
 22   liquidated, the Liquidating Trustee has turned to a further in-depth analysis and
 23   due diligence investigation of the remaining claims, and has been actively
 24   involved, along with its counsel, in the reconciliation of claims. As part of this
 25   effort, the Liquidating Trustee has performed extensive analysis of pending
 26   claims, and the associated reconciliation. The Liquidating Trustee has contacted
 27   certain claimants to negotiate various agreements including the filing of formal
 28   claim withdrawals, seeking negotiated reductions of asserted claim amounts, and
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  1   pursuing subordination agreements. The Liquidating Trustee and counsel have
  2   also contacted counsel for multiple claimants with large complex claims that are
  3   potentially disputable, and are in the process of examining documents and
  4   information received from those claimants. This effort includes the preparation of
  5   nondisclosure agreements with certain claimants to facilitate document exchange.
  6          The Liquidating Trustee and its counsel also continue to examine
  7   supporting documentation, and related pleadings – including Debtor’s schedules
  8   and prior orders entered in the bankruptcy case related to pending claims, and are
  9   performing extensive legal and financial analysis regarding certain of the
 10   potentially disputable claims. This detailed work is being performed to evaluate
 11   the bases for objection to potentially disputed claims. The Liquidating Trustee’s
 12   focus is to communicate with holders of disputed claims for the purpose of
 13   negotiating efficient settlements and avoid expenditures on unnecessary claims
 14   litigation.
 15          The Liquidating Trustee and its counsel also resolved two administrative
 16   tax claims.
 17          On January 28, 2022, the Court entered an order [Docket No. 810],
 18   extending through March 31, 2023, the Claim Objection Deadline.
 19                 4.   Term of the Liquidating Trust/Application for Extension.
 20          Per section 9.3 of the Liquidating Trust Agreement (Docket # 438, Exhibit
 21   A), if the Liquidating Trust has not been previously terminated, it terminates on
 22   the fifth anniversary of the effective date (April 2, 2023), unless the bankruptcy
 23   court has approved an extension of the Liquidating Trust term.         Given the
 24   complexity of the pending disputed claims analysis, the Trustee may find it
 25   necessary to file a timely request for a Court order extending the term of the
 26   Liquidating Trust as necessary to the continued liquidating purpose of the Trust.
 27   Per the terms of the Liquidating Trust Agreement, an order approving extension
 28   of the Trust term must be obtained within the six-month period prior to the
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  1   commencement of any extended term. Here, that six-month period (October 2022
  2   through April 2023) has commenced.
  3          C.      Distributions Made Under the Plan.
  4          The Debtor has made all distributions with respect to allowed
  5   administrative claims required by the Plan.       The Plan is a “pot” plan and,
  6   accordingly, there is no fixed payment to holders of Allowed General Unsecured
  7   Claims. As set forth hereinabove, the Liquidating Trustee anticipates that, based
  8   on the successful resolution of the Litigation Claims filed in this case there will
  9   be meaningful distribution to the Debtor’s general unsecured creditors.
 10          The Liquidating Trustee is in the midst of extensive evaluation and
 11   analysis, on a per-claim basis, of remaining claims, and is in various stages of
 12   negotiation with certain claimants. The Liquidating Trustee expects to continue
 13   this effort.
 14          Given the complexity of the larger outstanding claims, this analysis will
 15   continue to require dedication of significant time. Accordingly, the Liquidating
 16   Trustee is unable at this time to predict either the timing or the ultimate recovery
 17   by creditors in this case. However, the Liquidating Trustee will be prepared to
 18   promptly file a motion for final decree after claims reconciliation is completed,
 19   and all claim disputes are resolved.
 20          D.      Post-Confirmation Tax Liabilities.
 21          The Liquidating Trust does not have any undisputed post-confirmation tax
 22   liabilities. The Santa Barbara County Treasurer-Tax Collector (“Tax Collector”)
 23   filed an administrative claim concerning taxes on assets sold while the bankruptcy
 24   case was pending. The Liquidating Trustee disputed this claim, and, with the
 25   assistance of counsel, negotiated a settlement agreement with the Tax Collector
 26   which resolved this disputed claim.
 27          ////
 28          ////
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  1         E.     The Liquidating Trustee’s Ability to Continue to Comply with
  2                the Terms of the Plan.
  3         The Liquidating Trustee projects that it will be able to continue to comply
  4   with the terms of the Plan.
  5         F.     Plan Consummation and Motion for Final Decree.
  6         Now that all of the Litigation Claims filed in this case have been
  7   successfully resolved, the Liquidating Trustee has turned to extensive evaluation
  8   and analysis of remaining disputed claims. The Liquidating Trustee’s focus is the
  9   efficient resolution of claims disputes and case wind-up. At this juncture, the
 10   Liquidating Trustee is unable to provide an estimate as to the date by which the
 11   Plan will be fully consummated and by which the Liquidating Trustee will be able
 12   to seek a final decree closing this case.
 13

 14   DATED: October 11, 2022.
 15                                           GRIFFITH & THORNBURGH, LLP
 16
                                              By _____________________________
 17                                            FELICITA A. TORRES
 18                                            Attorneys for Liquidating Trustee
                                               Appointed under Confirmed Ch. 11 Plan
 19

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In re: Channel Technologies Group, LLC
United States Bankruptcy Court, Case No. 9:16-bk-11912-DS
                                         PROOF OF SERVICE OF DOCUMENT
   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
   8 E. Figueroa Street, Suite 300, Santa Barbara, CA 93101
   A true and correct copy of the foregoing document entitled (specify):
   14th Post-Confirmation Status Report

will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
Oct. 11, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

                                                                                            Service information continued on attached page


2. SERVED BY UNITED STATES MAIL:
On (date) Oct. 11, 2022, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.


                                                                                            Service information continued on attached page



3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)      , 2022, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

Oct. 11, 2022                  Evelyn R. Downs                                                 /s/ Evelyn R. Downs
 Date                          Printed Name                                                     Signature




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United States Bankruptcy Court, Case No. 9:16-bk-11912-DS

NEF Service:

Jonathan Boustani jboustani@btlaw.com
John P Byrne John.Byrne@byrnelawcorp.com
Cheryl S Chang Chang@Blankrome.com, Hno@BlankRome.com
Leslie A Cohen leslie@lesliecohenlaw.com, jaime@lesliecohenlaw.com;olivia@lesliecohenlaw.com
Edward J Dennis , eburch@lynnllp.com;srusso@lynnllp.com
Edward J Dennis jdennis@lynnllp.com, eburch@lynnllp.com;srusso@lynnllp.com
Daniel Denny ddenny@milbank.com
Jeffrey W Dulberg jdulberg@pszjlaw.com
Brian D Fittipaldi brian.fittipaldi@usdoj.gov
Michael S Greger mgreger@allenmatkins.com, kpreston@allenmatkins.com
Craig N Haring charing@blankrome.com
William W Huckins whuckins@allenmatkins.com, clynch@allenmatkins.com;igold@allenmatkins.com
Ian Landsberg ilandsberg@sklarkirsh.com,
lskaist@sklarkirsh.com;yalarcon@sklarkirsh.com;mmadden@sklarkirsh.com;ilandsberg@ecf.inforuptcy.com;kfrazier@skl
arkirsh.com;cbullock@sklarkirsh.com
Paul J Laurin plaurin@btlaw.com, slmoore@btlaw.com;jboustani@btlaw.com;jose.barajas@btlaw.com
Elan S Levey elan.levey@usdoj.gov, julie.morales@usdoj.gov
Andrew B Levin ablevin@mintz.com, Meir@virtualparalegalservices.com;pj@wcghlaw.com;jmartinez@wcghlaw.com
Stephen F Mcandrew mcandrewsteve@gmail.com, steve@mcandrewlaw.net;steve@kmcllp.com
David W. Meadows david@davidwmeadowslaw.com
Eliyahu Ness eli_ness@outlook.com
Samuel A Newman sam.newman@sidley.com, samuel-newman-2492@ecf.pacerpro.com;laefilingnotice@sidley.com
Victoria Newmark vnewmark@pszjlaw.com
Reed H Olmstead reed@olmstead.law, olmstead.ecf@gmail.com;r41602@notify.bestcase.com
Robert E Opera ropera@wghlawyers.com, jmartinez@wghlawyers.com;mweinberg@wghlawyers.com
Christian A Orozco christian.a.orozco@usdoj.gov
Christopher O Rivas crivas@reedsmith.com, chris-rivas-8658@ecf.pacerpro.com
Joseph M Sholder sholder@g-tlaw.com
Howard Steinberg steinbergh@gtlaw.com, pearsallt@gtlaw.com;lalitdock@gtlaw.com
Felicita A Torres torres@g-tlaw.com
United States Trustee (ND) ustpregion16.nd.ecf@usdoj.gov
Alan J Watson alan.watson@hklaw.com, rosanna.perez@hklaw.com

USPS Regular Mail (creditors and Trustee):

Brian Fittipaldi, Esq
Office of the US Trustee
1415 State Street, Suite 148
Santa Barbara, CA 93101

United States Trustee
915 Wilshire Blvd Ste 1850
Los Angeles, CA 90017

Counsel for Creditor BAE Systems Information and Electric
Robert R. Moore, Esq.
Three Embarcadero Center 12th Floor
San Francisco, CA 94111

Joy Equipment Protection Inc
PO Box 1080
Carpinteria, CA 93014



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In re: Channel Technologies Group, LLC
United States Bankruptcy Court, Case No. 9:16-bk-11912-DS

CEC Inc
Attn: Jason Carlton President
PO Box 23245
Santa Barbara, CA 93121

Counsel to Blue Wolf Capital Fund II, LP
Alan J. Watson
Holland & Knight, LLP
400 South Hope Street 8th Floor
Los Angeles, CA 90071-2040

Counsel for Northrop Grumman Corp.
Samuel A. Newman
Gibson Dunn & Crutcher, LLP
333 South Grand Avenue
Los Angeles, CA 90071-3197

Counsel for Landlord
Thomas N. Harding
Seek Mackall LLP
1332 Anacapa Street Suite 200
Santa Barbara, CA 93101

Brent A Lindstrom
Electro Optical Industries
410 Canon Drive
Santa Barbara, CA 93105


USPS Regular Mail (parties requesting special notice):

Laura Davis Jones
Pachulski Stang Ziehl & Jones LLP
919 North Market Street 17th Floor
Wilmington, DE 19801

Adrian Garcia
2100 Ross Avenue, Ste 2700
Dallas, TX 75201

Sam Butler Hardy IV
2100 Ross Avenue, Ste.2700
Dallas, TX 75201

John J Monaghan
Holland & Knight LLP
10 St. James Avenue
Boston, MA 02116

Timothy J. Trager
REICKER, PFAU, PYLE & McROY LLP
1421 State St Suite B
PO Box 1470
Santa Barbara, CA 93102

Water Store
94 Frederick Lopez
Goleta, CA 93117



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